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 8                            IN THE UNITED STATES DISTRICT COURT

 9                                 EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         1:15-CR-00059
12                                    Plaintiff,       FINAL ORDER OF
                                                       FORFEITURE
13                       v.
14   MICHAEL JOHNSON,
15                                    Defendant,
16

17          WHEREAS, on January 4, 2016, this Court entered a Preliminary Order of
18 Forfeiture pursuant to the provisions of 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c),

19 based upon the plea agreement entered into between plaintiff and defendant Michael
20 Johnson forfeiting to the United States the following property:
                a.     a Glock, Model 27, caliber .40 handgun, and
21              b.     all ammunition seized in the case.
22          AND WHEREAS, Beginning January 6, 2016, for at least 30 consecutive days,
23 the United States published notice of the Court’s Order of Forfeiture on the official

24 internet government forfeiture site www.forfeiture.gov. Said published notice advised

25 all third parties of their right to petition the Court within sixty (60) days from the first
26 day of publication of the notice for a hearing to adjudicate the validity of their alleged

27 legal interest in the forfeited property;

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                                                   1
29     Final Order of Forfeiture

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 1          AND WHEREAS, the Court has been advised that no third party has filed a

 2 claim to the subject property and the time for any person or entity to file a claim has

 3 expired.

 4          Accordingly, it is hereby ORDERED and ADJUDGED:

 5                  1. A Final Order of Forfeiture shall be entered forfeiting to the United

 6 States of America all right, title, and interest in the above-listed property pursuant to

 7 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), to be disposed of according to law, including

 8 all right, title, and interest of Michael Johnson.
 9                  2. All right, title, and interest in the above-listed property shall vest

10 solely in the name of the United States of America.

11                  3. The Bureau of Alcohol, Tobacco, Firearms and Explosives shall

12 maintain custody of and control over the subject property until it is disposed of

13 according to law.

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     IT IS SO ORDERED.
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16     Dated:      June 1, 2016                         /s/ Lawrence J. O’Neill _____
                                               UNITED STATES CHIEF DISTRICT JUDGE
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29     Final Order of Forfeiture

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